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                        IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________
IN RE SUBOXONE (BUPRENORPHINE                :    MDL NO. 2445
HYDROCHLORIDE AND NALOXONE)                  :    13-MD-2445
ANTITRUST LITIGATION                         :
                                             :
THIS DOCUMENT RELATES TO:,                   :
                                             :
Wisconsin, et al. v. Indivior Inc. et al.    :
Case No. 16-cv-5073                          :
__________________________________________:
STATE OF WISCONSIN                           :
By Attorney General Brad D. Schimel, et al.  :
                                             :    CIV. A. NO. 16-5073
                                Plaintiffs,  :
               v.                            :
                                             :
INDIVIOR INC. f/k/a RECKITT BENCKISER :
PHARMACEUTICALS, INC., et al.                :
                                             :
                                Defendants.  :
__________________________________________:

                                           ORDER

       AND NOW, this 3rd day of December, 2021, upon consideration of the End-Payor

Plaintiffs’ Second Motion for Approval of Form and Manner of Notice (Doc. No. 773),

Defendant’s Response (Doc. No. 776), and the End-Payor Plaintiffs’ Reply (Doc. No. 779), I find

as follows:

     1. The Court has subject matter jurisdiction over this Action and has personal jurisdiction

        over each of the parties,

     2. The proposed form and manner of notice to members of the End-Payor Plaintiff Class set

        forth in the Amended Proposed Class Action Notice Program, along with the proposed

        methods of dissemination of notice described in the Amended Class Action Notice

        Program, satisfy the requirements of Rule 23(e) and due process, are otherwise fair and
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   reasonable, and therefore are approved. Class Counsel shall cause notice via email and/or

   first-class mail to those members of the Class who can reasonably and economically be

   identified, and by publication in print media and digital media placements, as set forth in

   the Amended Class Action Notice Program, as follows:

   a.    Publication Notice: Shall commence within twenty-one (21) days of the date of

   this Order and shall be completed within ninety (90) days after the date of this Order.

   b.    Third-Party Payor (“TPP”) Direct Mail Notice: Shall occur within twenty-one

   (21) days after the date of this Order.

   c.    Subpoenas for names, addresses, and email addresses of potential Consumer

   Class Members: Shall be served within twenty-one (21) days after the date of this Order

   upon the top six PBMs, the ten largest TPPs, the top ten chain store pharmacies, and the

   top five mail order pharmacies, as identified in the accompanying Memorandum Opinion.

   d.    Consumer Class Direct Mail Notice: Shall occur within ninety (90) days after

   the date of this Order.

   e.    Opt-Out Period Close: Shall occur within forty-five (45) days after service of the

   Consumer Class Direct Mail Notices.

3. The Court appoints A.B. Data, Ltd. to serve as Notice Administrator and to assist Class

   Counsel in disseminating the Notice.

4. The Notice Administrator shall provide a Declaration of Completion of Notice

   Dissemination to Class Counsel. Class Counsel shall file this Declaration with the Court.

5. The Notice Administrator shall provide copies of all Requests for Exclusion from the

   Class to Class Counsel and Defendant’s Counsel as those are received. Class Counsel

   shall file those Requests for Exclusion with the Court and under seal.
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      WHEREFORE, it is hereby ORDERED that Plaintiff’s Motion to Approve the Form and

Manner of Notice is GRANTED as set forth above.


                                        BY THE COURT:



                                        /s/ Mitchell S. Goldberg
                                        MITCHELL S. GOLDBERG, J.
